
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud (Justice González sat for Justice Wiggins), considered at its October 30, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted and this case is consolidated with Supreme Court No. 96073-9, State of Washington v. Clark Allen Tellvik. Any party may serve and file a supplemental brief within 30 days of the date of this order, see RAP 13.7(d).
*1175For the Court
/s/ Fairhurst, C.J.
CHIEF JUSTICE
